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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


GLOBAL HEALTH COUNCIL et al.,

                      Plaintiffs,

        v.                                                  Civil Action No. 1:25-cv-00402

DONALD TRUMP et al.,

                      Defendants.


                  [PROPOSED] TEMPORARY RESTRAINING ORDER


       Upon consideration of Plaintiffs’ motion for a temporary restraining order and

accompanying brief, it is hereby

       ORDERED that the motion is GRANTED. It is further

       ORDERED that the Defendants are restrained from implementing, enforcing, or otherwise

giving effect to Executive Order 14169; Dep’t of State, Memorandum, 25 STATE 6828 (Jan. 24,

2025); USAID, Notice on Implementation of Executive Order on Reevaluating and Realigning

United States Foreign Aid (Jan. 24, 2025); USAID, Initial Instructions for Implementing Executive

Order Reevaluating and Realigning United States Foreign Aid (Jan. 22, 2025); USAID, Follow-

Up Instructions for Implementing Executive Order Reevaluating and Realigning United States

Foreign Aid (Jan. 24, 2025); USAID, Clarification on Implementing the President’s Executive

Order on Reevaluating and Realigning United States Foreign Aid (Jan. 26, 2025); and any other

actions by Defendants or their agents to implement Executive Order 14169, including, without

limitation:
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   •      by freezing, pausing, or otherwise preventing the obligation or disbursement of

          appropriated foreign-assistance funds, including for any contracts, grants, cooperative

          agreements, and loans, for both past and ongoing expenses;

   •      by issuing, implementing, enforcing, or otherwise giving effect to terminations,

          suspensions, or stop-work orders on existing grants, cooperative agreements, or contracts

          for foreign assistance;

   •      by dismantling USAID or taking any other action, such as terminating, furloughing, or

          placing personnel on administrative leave, that prevents Defendants from fulfilling their

          statutory duty to obligate and disburse appropriated foreign-assistance funds; or

   •      by issuing or reissuing any other orders or taking any other actions that have a materially

          similar effect. It is further

          ORDERED that Defendants shall take every step necessary to effectuate this Order,

including clearing any administrative, operational, human resource, or technical hurdles to

implementation of this Order. It is further

          ORDERED that this Order shall apply to the maximum extent provided for by Federal

Rule of Civil Procedure 65(d)(2) and 5 U.S.C. §§ 705 and 706. It is further

          ORDERED that Defendants are directed to provide written notice of this Order to all

recipients of existing grants, cooperative agreements, and contracts for foreign assistance. It is

further

          ORDERED that Defendants shall file a status report within two days of the entry of this

Order, apprising the Court of the status of their compliance with this Order, including by providing

a copy of the written notice described above; and it is further




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       ORDERED that the parties shall meet and confer and file a joint status report proposing a

preliminary injunction briefing schedule within three days of the entry of this Order.

       IT IS SO ORDERED.
                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE




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